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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED
 PEOPLE, et al.,
                Plaintiffs,
                v.                                          Civil Action No. 17-1907 (JDB)
 DONALD J. TRUMP, et al.,
         Defendants.


                                            ORDER

       Upon consideration of [15] defendants’ motion to dismiss and plaintiffs’ motion for

summary judgment, which was filed as a joint motion in a related case, see Pls.’ Mot. for Summ.

J., Princeton v. United States, Civ. Action No. 17-2325 (JDB) (D.D.C. Dec. 15, 2017), ECF No.

28, and for the reasons stated in the Memorandum Opinion issued on this date, it is hereby

       ORDERED that [15] the government’s motion to dismiss is GRANTED as to plaintiffs’

procedural Administrative Procedure Act (“APA”) claim (stated in Count III), their information-

sharing claim (stated in Counts I and II), and their Regulatory Flexibility Act claim (Count VI);

DENIED as to their substantive APA claim (stated in Count III); and DENIED IN PART AND

DEFERRED IN PART as to their constitutional claims (stated in Count II); it is further

       ORDERED that [28] plaintiffs’ motion for summary judgment is GRANTED as to their

substantive APA claim but DENIED as to their procedural APA claim; it is further

       ORDERED that the Department of Homeland Security’s (“DHS”) September 5, 2017

decision to rescind the Deferred Action for Childhood Arrivals (“DACA”) program is VACATED

and REMANDED to the agency; it is further

       ORDERED that the Court’s order of vacatur is STAYED for ninety days; and it is further
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       ORDERED that the parties shall file, by not later than Friday, July 27, 2018 a joint status

report stating whether DHS has issued a new decision rescinding DACA and whether the parties

contemplate the need for further proceedings in this case.

       Moreover, upon consideration of the remaining motions pending in this case, it is hereby

       ORDERED that [18] plaintiffs’ unopposed motion to submit pseudonymous declarations

is GRANTED; and it is further

       ORDERED that [9] plaintiffs’ motion for a scheduling order is DENIED as moot.

       SO ORDERED.

                                                                         /s/
                                                                  JOHN D. BATES
                                                             United States District Judge
Dated: April 24, 2018




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